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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                               Atlanta Division

D. H. PACE COMPANY, INC.,

     Plaintiff,                                Civil Action File
                                               No. 1:22-cv-01005-JPB
v.

MATTHEW JOHNSON and LIBERTY
GARAGE DOOR SERVICES, LLC,

     Defendants.

                  NOTICE OF INTENT TO SERVE SUBPOENAS

        You are hereby notified, pursuant to Federal Rule of Civil Procedure 45(a)(4)

 that Plaintiff D. H. Pace Company, Inc. intends to serve the attached Subpoenas to

 Produce Documents, Information, or Objects or to Permit Inspection of Premises in

 a Civil Action upon Peter Cureton, Dave Jones, and Southeast Door Technologies,

 LLC.

        Respectfully submitted this 17th day of October, 2022.

                                        FELLOWS LABRIOLA LLP

                                         s/ Ethan M. Knott
                                        Stephen T. LaBriola
                                        Georgia Bar No. 431026
                                        slabriola@fellab.com
                                        Ethan M. Knott
                                        Georgia Bar No. 737481
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                                   eknott@fellab.com
                                   Sharika Zutshi
                                   Georgia Bar No. 768189
                                   szutshi@fellab.com
Peachtree Center
Suite 2400 Harris Tower
233 Peachtree Street, N.E.
Atlanta, Georgia 30303
(404) 586-9200

                                   Attorneys for Plaintiff
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                          CERTIFICATE OF SERVICE

      I certify that this day, I electronically filed the foregoing with the clerk’s office

CM/ECF system, which will automatically serve the document upon all counsel of

record.

      Respectfully submitted, this 17th day of October, 2022.


                                          s/ Ethan M. Knott
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